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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE M IDDLE DISTRICT OF ALABAM A
                                 NORTHERN DIVISION



UNITED STATES OF AM ERICA                        )
                                                 )
v.                                               )           2:05cr206-A
                                                 )               WO
WILLIE OLIVER, JR.                               )

                                 ORDER ON ARRAIGNMENT

       On September 22, 2005, the defendant WILLIE OLIVER, J R., appeared in person and
in open court with couns el, Joe Smith, and was arraigned in accordance with the provisions
of Rule 10 of the Federal Rules of Criminal Procedure.

       PLEA. The defendant entered a plea of NOT GU ILT Y. Counsel for the defendant
is requested to contact the U. S. Attorney immediately if the defendant intends to engage
in plea negotiations. If the defendant decides to change this plea, the parties shall file a
notice of intent to plead guilty or otherwise notify the clerk’s office at or before t he p ret rial
conference and then this action will be set on a plea docket.

        PRELIMINARY S ENTENCING GUIDELINES INFORMATION. T he court no
longer requires the United States Probat ion Office to provide preliminary sentencing
guideline information to defendants. H ow ever, in difficult or complex cases defendants
may request the United States Probat ion O ffice to provide Sentencing Guideline calculation
assistance with the understanding that any estimate is tentative only and is not binding
on the United States Probation Office, the parties or the court. The court exp ect s t hat
requests for Sentencing Guideline calculation assistance shall be the exception and that
defendants will not make such reques t s a mat t er of routine. A request for Sentencing
Guideline calculation assistance shall be made to the United States Probation Office not
later than 10 days from the date of this order.

       PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for October
17, 2005 at 3:00 p.m. in Courtroom 5-B, Frank M . Johnson, Jr. Federal Building and United
States Courthouse Complex, One Church Street, M ontgomery, Alabama. Not later th an
three (3) days prior to the date of the pretrial conference, counsel shall confer about the
issues and matters to be discussed at the pretrial con fe re n ce as set forth in this order.
Counsel who want in-custody defendants to attend must notify the M agistrate Judge
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within three days of the conference date so that an order to produce can be is s ued to the
United States M arshal.

        At the pretrial conference defense counsel and counsel for the government shall be
fully prepared to discuss all pending motions, the status of discovery, possible
stipulations, and the estimated length of the trial. T he defense counsel and counsel for the
government shall be fully prepared to provide a definite commitment as to the final
disposition of this case - by trial, plea or other non-trial disposition. If resolut ion of a
dispositive mot ion w ill affect the nature of this commitment, counsel must be fully prepared
to discus s t his t y p e of resolution. If the case is for plea, the notice of intent to enter a plea
should be filed at the time of the p retrial conference. If counsel require additional time for
plea negotiations, counsel should be prepared to inform the court about the dat e w hen
those negotiations will be completed..

        TRIAL. At arraignment, the parties agreed that due t o t he nature of this case, the
need for adequate time for discovery and the need for counsel to have adequate time for
trial preparation, the case should be s et for trial before S enior United S tates District Judge
W. Harold Albritton, III on the trial term beginning on December 5, 2005, unless otherwise
ordered by the court.

          In setting this case for trial on the term indicated above, the court recognizes that
the Speedy Trial Act p laces limit s on the court’s discretion, and that under the act, the trial
of a defendant must commence within 70 days of the date of the indictment or the date of
the defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. §
3161(c)(1). In determining whether a case should be set after the expiration of the 70 day
period, a court must cons ider among other factors “[w]hether the failure to [set the case
at a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18 U .S.C. §
3161(h)(8)(B)(I). The court also must consider “whether the failure to grant such a
continuance . . . would deny counsel for the defendant or the attorney for t he government
t he reasonable time necessary for effective preparation, taking into account the exercis e
of due diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv).          Based on the nature of this case, the
parties’ need for adequate time for discovery and t he need for counsel to have adequate
time for trial preparation, the court finds that the ends of justice served by setting this case
on this trial term outweigh the best interest of the public and t he defendant in a speedy
trial. Any requested voir dire questions and jury instructions must be filed no later than
one week before jury selection.

       PRETRIAL MOTIONS . All pretrial motions under Fed. R. Crim. P. 12(b) and (d), 14


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and 16, all notices under Fed. R. Crim. P. 12.1, 12.2 and 12.3, and any mot ion to compel
pursuant to this court’s standing order on discovery must be filed no later than TWO
D AYS BEFORE THE FIRS T PRETRIAL CONFERENCE HELD IN THIS CAS E.                       No
motion filed after this date will be cons idered unless filed with leave of court. A
continuance
of the p ret rial conference or trial does not extend the motions deadline. THE
CONFERENCING REQUIREMENT S ET FORTH IN THE S TANDING ORDER ON
CRIMINAL DIS COVERY S HALL BE MET BEFORE THE COURT WILL CONS IDER
ANY DIS COVERY MOTION. THE COURT WILL NOT GRANT MOTIONS TO ADOPT
MOTIONS FILED BY OTHER DEFENDANTS .

        M otions to sup p res s must allege specific facts which, if proven, would provide a
basis of relief. This Court will summarily dismiss suppression motions which are s up ported
only by general conclusory assertions founded on mere suspicion or conjecture. All
grounds upon which the defendant relies must be specifically stated in the motion in
separately numbered paragraphs in a section of the motion which is labe l e d “Is sues
Presented”. Grounds not stated in the “Issues Presented” section of the motion will be
deeme d to h ave been waived. See generally United States v. Richardson, 764F.2d 1514,
1526-27 (11th Cir. 1985).

       T he government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the mot ion or, if no hearing is
necessary, on or before ten (10) days after the date of the pretrial conference.

       DIS COVERY. A ll discovery in this action shall be conducted according to the
requirements of this court’s Standing Order on Criminal Discovery. A copy of the standing
order is attached and also may be found at http://www.almd.uscourt s .gov/. Unless the
government provided initial disclosures to the defendant prior t o or at arraignment, the
government is ORDERED to tender initial disclosure to the defendant on or before
S eptember 26, 2005. Disclos ures by the defendant, as required by ¶4 of the Standing
Order on Criminal Discovery shall be provided on or before October 3, 2005.

         JENCKS ACT S TATEMENTS . The government agrees to provide defense counsel
with all Jencks Act statements no later than the day scheduled for the commencement of
the trial.1


       1
        In certain complex cases, the government may agree to earlier production.


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        MANDATORY APPEARANCE OF COUNS EL. Counsel of record for all parties are
ORDERED to appear at all future court proceedings in this criminal case. Those attorneys
who find it impos s ible t o be in attendance (especially at the pretrial conference, jury
selection, or trial) must make arrangements to have substitute counsel appear on behalf of
their clients. Any attorney who appears as s ubstitute counsel for a defendant shall have
full authorization from the defendant to act on his or her behalf and be fully prepared to
proceed. Substitute counsel shall not be counsel for a co-defendant unless permit t ed by
the court after proper motion. Any counsel who wishes to have substitute counsel appear
must obtain permission of the court in advance.

      NOTE: Except in extraordin ary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within seven days of the
date of this order. Failure to obtain fee s from a client is not an extraordinary
circumstance.

      DONE, this 26th day of September, 2005.




                                         /s/ Susan Russ Walker
                                         SUSAN RUSS WALKER
                                         UNITED STATES M AGISTRATE JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA


S TANDING ORDER ON CRIMINAL DIS COVERY

       It is the court's policy to rely on the standard discovery procedure as set forth in this Order

as the sole means of the exchange of discovery in criminal cases except in extraordinary

circumstances. This Order is intended to p romote the efficient exchange of discovery without

altering the rights and obligations of the parties, but at the same time eliminating the practice of

routinely filing perfunctory and duplicative discovery motions.

       INITIAL DIS CLOS URES :

       (1)     Disclosure by the Government. At arraignment, or on a date otherwise set by the

court for good cause shown, the government shall tender to defendant the following:

       (A)     Fed.R.Crim.P. 16(a) Information. All discoverable information within the scope of

               Rule 16(a) of the Federal Rules of Criminal Procedure.

       (B)     Brady M aterial. All information and material known to the government which may

               be favorable to the defendant on the issues of guilt or punishment, without regard to

               materiality, within the scope of Brady v. M aryland, 373 U.S. 83 (1963).

       (C)     Giglio M at erial. The existence and substance of any payments, promises of

               immunity, leniency, preferential treatment, or other inducements made to prospective

               witnesses, within the scope of United States v. Giglio, 405 U.S. 150 (1972).



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(D)   Testifying informant's convictions. A record of prior convictions of any alleged

      informant who will testify for the government at trial.

(E)   Defendant's identification. If a line-up, show-up, photo spread or similar procedure

      was used in attempting to identify the defendant, the exact procedure and

      participants shall be described and the res ults, together with any pictures and

      photographs, shall be disclosed.

(F)   Inspection of vehicles, vessels, or aircraft. If any vehicle, vessel, or aircraft was

      allegedly utilized in the commission of any offenses charged, the government shall

      permit the defendant's counsel and any expert selected by the defense to inspect it,

      if it is in the custody of any governmental authority.

(G)   Defendant's latent prints. If latent fingerprints, or prints of any type, have been

      identified by a government expert as those of the defendant, copies thereof shall be

      provided.

(H)   Fed.R.Evid.404(b). The government shall advise the defendant of its intention to

      introduce evidence in its case in chief at trial, pursuant to Rule 404(b) of the Federal

      Rules of Evidence.

(I)   Electronic Surveillance Information. If the defendant was an "aggrieved person" as

      defined in 18 U.S.C. §2510(11), the government shall so advise the defendant and set

      forth the detailed circumstances thereof.



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        (2)     Obligations of the Government.

        (A)     The government shall anticipate the need for, and arrange for the transcription of, the

                grand jury testimony of all witnesses who will testify in the government's case in

                chief, if subject to Fed.R.Crim.P. 26.2 and 18 U.S.C. §3500. Jencks Act materials

                and witnesses' statements shall be provided as required by Fed.R.Crim.P. 26.2 and

                18 U.S.C. §3500. However, the government, and where applicable, the defendant, are

                requested to make such materials and statement s available to the other party

                sufficiently in advance as to avoid any delays or interruptions at trial. The court

                suggests an early disclosure of Jencks Act materials.

        (B)     The government shall advise all government agents and officers involved in the case

                to preserve all rough notes.

        (C)     The identification and production of all discoverable evidence or information is the

                personal responsibility of the Assistant United States Attorney assigned to the case

                and may not be delegated without the express permission of the court.

        (3)     Disclosures to U.S . Probation. At arraignment, or on a date otherwise designated

by the court upon good cause shown, the government shall tender to the U.S. Probation Office all

essential information needed by U.S. Probation to accurately calculate the sentencing guideline range

for the defendant, including, but not limited to, information regarding the nature of the offense

(offense level), the nature of the victim and the injury sustained by the victim, defendant's role in the



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offense, whether defendant obstructed justice in the commission of the crime, defendant's criminal

history, and any information regarding defendant's status as a career offender/armed career criminal.

In addition, in order to comply with the requirements of the Anti-Terrorism Act, the government

shall produce to the U.S. Probation Office information regarding the victims of defendant's alleged

criminal activity, including, but not limited to, the identity of the victim by name, address, and phone

number, and the nature and extent of the victim's loss or injury.

       (4)     Disclosures by the Defendant. If defendant accepts or requests disclosure of

discoverable information pursuant to Fed.R.Crim.P. 16(a)(1)(C), (D), or (E), defendant, on or before

a date set by the court, shall provide to the government all discoverable information within the scope

of Fed.R.Crim.P. 16(b).

       S UPPLEMENTATION. The provisions of Fed.R.Crim.P. 16(c) are applicable. It shall be

the duty of counsel for all parties to immediately reveal to opposing counsel all newly discovered

information, evidence, or other material within the scope of this Rule, and there is a continuing duty

upon each attorney to disclose expeditiously.

       MOTIONS FOR DIS COVERY. No attorney shall file a discovery motion without first

conferring with opposing counsel, and no motion will be considered by the court unless it is

accompanied by a certification of such conference and a statement of the moving party's good faith

efforts to resolve the subject matter of the motion by agreement w it h op p os ing counsel. No

discovery motions shall be filed for information or material within the scope of this Rule unless it



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is a motion to compel, a motion for protective order or a motion for an order modifying discovery.

See Fed.R.Crim.P. 16(d). Discovery requests made pursuant to Fed.R.Crim.P. 16 and this Order

require no action on the part of this court and shall not be filed with the court, unless the party

making the request desires to preserve the discovery matter for appeal.

       DONE this 4th day of February, 1999.


                                      /s/ W. Harold Albritton
                                      W. HAROLD ALBRITTON
                                      Chief United States District Judge

                                      /s/ M yron H. Thompson
                                      M YRON H. THOM PSON
                                      United States District Judge

                                      /s/Ira DeM ent
                                      IRA DeM ENT
                                      United States District Judge




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